
PER CURIAM.
Quintín Jamar Braxton appeals from an order denying his motion to correct illegal sentence pursuant to Florida Rule of Criminal Procedure 3.800(a). We reverse and remand for attachment of records that conclusively refute Braxton’s claim.
On appeal from a summary denial of a Rule 3.800(a) motion, this Court must reverse unless the post-conviction record conclusively shows that the appellant is entitled to no relief. See Fla. RApp. P. 9.141(b)(2)(A), (D). Because the record now before us fails to make the required showing, we reverse the order and remand for further proceedings. If the trial court again enters an order summarily denying the post-conviction motion, the court shall attach record excerpts conclusively showing that Braxton is entitled to no relief.
Reversed and remanded for further proceedings.
